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United States District Court

FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
UNITED STATES OF AMERICA §
Vv CRIM. ACTION NO. 3:19-CR-00571-S
CAVOYCIA TREMON CLARK (2) ;

ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

After reviewing all relevant matters of record, including the Notice Regarding Entry of a
Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning
Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed
within 14 days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge
is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea
of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the
plea of guilty, and CAVOYCIA TREMON CLARK (2) is hereby adjudged guilty of (Count
One) 18 U.S.C. § 1951(a) and 2, Interference with Commerce by Robbery, Aiding and
Abetting and (Count Two) 18 U.S.C. §§ 924(c)(1)(A)(ii), Using, Carrying, and Brandishing a
Firearm During and in Relation to, and Possessing and Brandishing a Firearm in
Furtherance of, a Crime of Violence; Aiding and Abetting. Sentence will be imposed in
accordance with the Court's Scheduling Order.

x The Defendant is ordered to remain in custody.

O The Court adopts the findings of the United States Magistrate Judge by clear and
convincing evidence that the Defendant is not likely to flee or pose a danger to any other
person or the community if released and should therefore be released under 18 U.S.C. §
3142(b) or (c).

O Upon motion, this matter shall be set for hearing before the United States Magistrate Judge
who set the conditions of release for determination, by clear and convincing evidence, of
whether the Defendant is likely to flee or pose a danger to any other person or the
community if released under § 3142(b) or (c).

O The Defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The Defendant
shall self-surrender to the United States Marshal no later than

O The Defendant is not ordered detained pursuant to § 3143(a)(2) because the Court finds:

O There is a substantial likelihood that a motion for acquittal or new trial will be
granted, or
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CO The Government has recommended that no sentence of imprisonment be imposed,
and

O This matter shall be set for hearing before the United States Magistrate Judge who
set the conditions of release for determination, by clear and convincing evidence,
of whether the Defendant is likely to flee or pose a danger to any other person or
the community if released under § 3142(b) or (c).

This matter shall be set for hearing before the United States Magistrate Judge who set the
conditions of release for determination of whether it has been clearly shown that there are
exceptional circumstances under 18 U.S.C. § 3145(c) why the Defendant should not be
detained under § 3143(a)(2), and whether it has been shown by clear and convincing
evidence that the Defendant is likely to flee or pose a danger to any other person or the
community if released under § 3142(b) or (c).

SO ORDERED.

Signed December 31, 2020. HM eheQu

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE
